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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
                                                 )
LEAD CASE: Roane, et al. v. Barr                 )       Case No. 19-mc-145 (TSC)
                                                 )
THIS DOCUMENT RELATES TO:                        )
                                                 )
ALL CASES                                        )
                                                 )

                                             ORDER

        On August 27, 2020, the court entered judgment for Plaintiff Keith Nelson on Count XI

of the Amended Complaint (ECF No. 92) and enjoined Defendants from proceeding with

Nelson’s execution, scheduled for 4 p.m. today, until the government could “comply with the

requirements of the [Federal Food, Drug, and Cosmetic Act (FDCA)],” (ECF No. 213, Mem.

Op. at 13.) Upon the government’s emergency motion to stay or vacate the permanent injunction

issued by this court, the Court of Appeals for the District of Columbia Circuit vacated the

injunction on the basis that “inter alia, there [were] insufficient findings and conclusions that

irreparable injury will result from the statutory violation found by [this] court.” In re Fed.

Bureau of Prisons’ Execution Protocol Cases, No. 20-5260 (D.C. Cir. Aug. 27, 2020) (citing

eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006); Withrow v. Larkin, 421 U.S. 35,

44–45 (1975)).

        Nelson now asks the Court to clarify or amend its Order pursuant to Fed. R. Civ. P. 60(a)

(or issue a new order) to include specific findings and conclusions concerning the irreparable

injury that will result from the statutory violation found by this Court and to enjoin the

Government from proceeding with his execution. (ECF No. 222, Nelson Notice.) The

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government objects to the relief sought. (ECF No. 224.) This morning, the court held a hearing

via telephone to discuss the parties’ most recent filings.

       It well established that the burden of demonstrating irreparable injury lies with the

movant. See eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006). This presents a

“very high bar.” Beck v. Test Masters Educ. Servs. Inc., 994 F. Supp. 2d 98, 101 (D.D.C. 2014)

(quoting Coal. for Common Sense In Gov’t Procurement v. United States, 576 F. Supp. 2d 162,

168 (D.D.C. 2008)). The injury must be “both certain and great” and “of such imminence that

there is a clear and present need for equitable relief to prevent irreparable harm.” Wisconsin Gas

Co. v. F.E.R.C., 758 F.2d 669, 674 (D.C. Cir. 1985).

       In light of yesterday’s D.C. Circuit’s decision, this morning’s briefings, oral argument,

and upon reconsideration of the issues and the record herein, the court does not find Nelson

entitled to the relief he seeks. Nelson’s notice and request for amended judgment fails to supply

a sufficient basis for finding that he will be irreparably harmed by the government’s violation of

the FDCA. Nelson’s alleged irreparable injury is that he will be executed with a drug that has

not be prescribed by a physician and has not been subject to the labeling, approval, and

manufacturing quality requirements that apply to approved drugs under the FDCA. (See Nelson

Notice at 3.) In his notice and during this morning’s hearing, Nelson pointed to the lack of

potency testing in the record to demonstrate irreparable harm. (See id. at 2–3.) But Nelson did

not raise these arguments in his summary judgment briefing, as Nelson’s counsel conceded at

today’s telephone hearing. And the interpretation and significance of this record evidence is

disputed by the government. In light of this dispute, a showing of irreparable harm is far from

“certain.” Wisconsin Gas Co., 758 F.2d at 674. Thus, Nelson is unable to make the requisite




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showing “required to justify last-minute intervention by a Federal Court.” Barr v. Lee, No.

20A8, 2020 WL 3964985, at *2 (July 14, 2020).

       In light of the Court of Appeals’ Order and the parties’ briefs and arguments, the court

cannot grant the relief sought. Ultimately, Nelson bears the burden of demonstrating irreparable

harm and he has not convincingly done so.

       For the foregoing reasons, Nelson’s request for clarification or for an amended judgment

is hereby DENIED.

Date: August 28, 2020


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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